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UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STR|CT OF TEXAS
HOUSTON DlV|S|ON

 

P/ainf/'ff(s) Case No. 4:18~cv-00436
PAUL R. F. SCHUl\/lACHER,
~ against ~

Defendant(s) d ORDER EXTEND|NG TlME TO F|LE A
RESPONS|VE PLEAD|NG OR MOT|ON

CAP|TAL ADV/-\N_CE SOLUT|ONS, LLC,
CHARLES BETTA§AND DAN LOGAN

 

 

TH|S REQUEST FOR AN EXTENS|ON OF T||\/|E TO F|LE A RESPONS|VE
PLEAD|NG OR l\/|OT|ON has been submitted to the Court by Kent & l\/chride, P.C.,
attorneys for defendant CHARLES BETTA. The Court having considered the arguments
of counse|, if any, and for GOOD CAUSE shown,

lT is on this day or ivlay 2018;

ORDERED that the time Within Which the said Defendant may serve and file a
responsive pleading to the Comp|aint or |\/|otion is hereby extended for a period of fourteen
(14) days; and it is further

ORDERED that the defendant does not Waive any applicable defenses, including
but not |imited\to the defenses of improper service of process and lack of personal
jurisdiction; and it is further

ORDERED that a true copy of this Order shall be served on all counsel Within M

days of the date hereof.

 

UN|TED STATES D|STR|CT JUDGE

 

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CERT|F|CATE OF SERV|CE

The undersigned counsel of record hereby certifies that on l\/lay 22, 201 8, a true and
exact copy of this Order to Extend Time to Answer or file a l\/lotion Was served upon the
following individuals through the Court’s electronicfiling system and the United States l\/lai|:

Paul R. F. Schumacher, pro se

1512 Oakview Street
Bryan, TX 77802

KENT & I\/|CBR- DE, P.C.

...-_-`_°

 

Christopherb.`~l})évanny, Esq. (3719)
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Char/es Betta

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Dated: lviay 22, 2018

 

